The petitioner, who was under indictment and awaiting trial in the superior court, applied to another department of the same court for a writ of habeas corpus, which was granted. Upon a hearing, he was remanded to custody, and thereupon applied for, and obtained from the judge or court issuing the writ of habeascorpus a writ of error to the supreme court of the United States, it being claimed that the order of remand was in contravention of petitioner's rights under the constitution of the United States. The proceedings necessary to perfect the issuance and service of the writ of error and the citation thereunder were taken.
The petitioner now applies for a writ of prohibition to restrain the court in which the indictment is pending from proceeding with his trial.
We are satisfied that the writ of error, if it was properly issued, does not operate to stay proceedings in the court having jurisdiction of the indictment.
  The petition is denied. *Page 658 